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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-132

 v.                                                         HON. ROBERT HOLMES BELL

 JOSE HERNANDEZ,

             Defendant.
 ____________________________________/


                            MEMORANDUM OPINION AND ORDER

        Defendant Jose Hernandez has filed a motion for modification or reduction of sentence (ECF

 No. 1379) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

 Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10. The Probation Department

 filed a sentence modification report on November 12, 2015 (ECF No. 1587). Since Defendant’s

 amended guideline range is higher than the range at his original sentencing, the Probation

 Department recommends that Defendant is ineligible for a reduction in sentence under Guideline

 Amendment 782. Defense counsel has filed a response to the report of eligibility, ECF No. 1593,
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 and wishes to preserve the issue for future consideration should the law change. The government

 also filed a response to the sentence modification report (ECF No. 1594), concurring with the

 probation department’s assessment.

        Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

 (ECF No. 1379) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.



 Dated: December 14, 2015                      /s/ Robert Holmes Bell
                                               ROBERT HOLMES BELL
                                               UNITED STATES DISTRICT JUDGE
